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		OSCN Found Document:AMENDMENT OF RULES 3, 4 5 and 7 OF RULES GOVERNING ADMISSION TO PRACTICE OF LAW

					

				
  



				
					
					
						
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				AMENDMENT OF RULES 3, 4 5 and 7 OF RULES GOVERNING ADMISSION TO PRACTICE OF LAW2021 OK 2Case Number: SCBD-7013Decided: 01/21/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 2, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


IN RE: Amendment of Rules Three, Four Five and Seven of Rules Governing Admission to the Practice of Law, 5 O.S. 2011, ch.1, app.5

SECOND CORRECTED ORDER


This matter comes on before this Court upon an Application to Amend Rules Three, Four, Five and Seven of Rules Governing Admission to the Practice of Law, 5 O.S. 2011, ch.1, app. 5 (hereinafter "Rules") filed on January 13, 2021. This Court finds that it has jurisdiction over this matter and the Rules are hereby amended as set out in Exhibit A attached hereto, effective immediately.

DONE IN CONFERENCE the 19th day of January, 2021.


/S/CHIEF JUSTICE



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EXHIBIT A


RULE THREE


EXAMINATION COMPULSORY


No person other than those referred to in Rule Two shall be admitted to the practice of law in this state except upon recommendation of the Board of Bar Examiners obtained after such person shall have successfully taken the examination in writing, or as otherwise prescribed or be allowed to transfer a Uniform Bar Exam (UBE) score. Only those persons possessing the qualifications and fulfilling the conditions hereinafter prescribed shall be permitted to take an examination or seek UBE score transfer for admission to the practice of law in the State of Oklahoma.

RULE FOUR

ADMISSION BY EXAMINATION OR UBE SCORE TRANSFER

Section 1. When examination of an attorney of another jurisdiction is required of one who is not eligible for admission upon motion as provided in Rule Two hereof, such attorney may be permitted by the Board of Bar Examiners to take an examination or may transfer a verified UBE score within 3 years. Applicants with UBE scores older than 3 but less than 5 years may apply for admission based on the UBE score plus a period of active law practice for at least 2 years immediately preceding their Oklahoma application. The applicant shall be required to provide at his or her own expense a report by the National Conference of Bar Examiners (NCBE).

Section 2. Registration as a law student may be accomplished by the filing of a verified application for registration by the 15th day of October of the student's second year of law school on forms prescribed by the Board of Bar Examiners setting forth such information as the Board requires including:

(a) Certificate of graduation with a Bachelor of Arts or Science degree (with a minimum of 120 college hours, at least 90 hours representing resident study) from a college whose credit hours are transferable to the University of Oklahoma, Oklahoma City University or University of Tulsa with transcript attached of undergraduate college work;

(b) Two (2) sets of fingerprints which may be submitted to both the Oklahoma State Bureau of Investigation and the Federal Bureau of Investigation for appropriate record reviews.

(c) Recent photograph.

(d) NCBE Student Application Report for Character and Fitness at his or her own expense.

The Board may, in its discretion, register nunc pro tunc students who have been enrolled in a law school accredited by the American Bar Association upon compliance with all applicable rules herein.

The application provided by this section shall be valid for a period of ten (10) years. In the event the applicant has not activated the application within this ten (10) year period, the application will no longer be valid and the file containing the application and required information will be destroyed.

Section 3. Application to take a bar exam shall be filed at least six months prior to the date of examination on forms prescribed by the Board of Bar Examiners setting forth such information as the Board requires. Such application shall contain proof of law school study with a certified transcript attached and a certificate of the law school dean or associate dean that the applicant has met the requirements for graduation with a Juris Doctor degree from a law school in the United States of America, its territories and possessions, accredited by the American Bar Association.

A person who matriculates at a law school which was accredited when applicant enrolled therein, and who completes the course of study and is graduated therefrom, shall be deemed a graduate of an accredited law school, even though the school's accreditation was withdrawn while the applicant was enrolled therein.

No applicant may be admitted by examination or UBE score transfer until he or she shall furnish evidence that a score satisfactory to the Board of Bar Examiners on the Multistate Professional Responsibility Examination has been attained.

Admission must be effected within one year after the date the applicant successfully completes the bar examination unless extended by the Board of Bar Examiners.


RULE FIVE



EXAMINATION


In effect on March 1, 2021;

All applicants for admission by examination who score at least a 264 on the Uniform Bar Examination (UBE), either in Oklahoma or by transfer of the score from a UBE administered in another UBE jurisdiction authorized by the NCBE and are otherwise qualified under these rules shall be recommended by the Board of Bar Examiners to the practice of law in this state.

There shall be held two bar examinations each year, at dates, times, places and duration to be prescribed by the Board of Bar Examiners.

RULE SIX


ADDITIONAL EXAMINATIONS


In the event of the failure of an applicant to pass any examination, such applicant, if otherwise qualified under these Rules, may be permitted to take any number of subsequent examinations upon filing an additional application with the Board of Bar Examiners proving continued good moral character and fitness to practice law. The application shall be filed by May 15 for the July examination and by December 15 for the February examination.

RULE SEVEN


FEES


The following non-refundable fees shall be paid to the Board of Bar Examiners at the time of filing of the application:

(a) Registration:


Regular . . . . . . . . . . . . $125

Nunc Pro Tunc . . . . . . . $500


(b) By each applicant for admission upon motion: the sum of $2,000.

(c) By each applicant for admission by examination under Rule Four, §1:

FEBRUARY BAR EXAM 
Application filed on or before:


1 September . . . . $1,250
1 October . . . . . . $1,300
1 November . . . . $1,400

JULY BAR EXAM
Application filed on or before:

1 February . . . . .$1,250
1 March . . . . . . .$1,300
1 April . . . . . . . .$1,400


or applicants for admission by UBE score transfer only who are licensed in another jurisdiction or have not previously registered as a law student: the sum of $1,250

(d) By each applicant for a Special Temporary Permit under Rule Two, §5: the sum of $750.
(e) By each applicant for admission by a Special Temporary Permit under Rule Two, §6: the sum of $100.
(f) For each applicant for a Special Temporary Permit under Rule Two, §7, there will not be any fee charged to the applicant.
(g) By each applicant for a Temporary Permit under Rule Nine: $150.
(h) By each applicant for admission by examination who have previously registered as a law student:

FEBRUARY BAR EXAM 
Application filed on or before:

1 September . . . . . . $650
1 October . . . . . . . . $700
1 November . . . . . . . $800

In effect until May 31, 2021;

JULY BAR EXAM
Application filed on or before:

1 February . . . . . . . $400
1 March . . . . . . . . . $450
1 April . . . . . . . . . . $550

In effect on June 1, 2021;

JULY BAR EXAM
Application filed on or before:

1 February . . . . . . . $650
1 March . . . . . . . . . $700
1 April . . . . . . . . . . $800

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&nbsp;EXHIBIT A


RULE THREE


EXAMINATION COMPULSORY


No person other than those referred to in Rule Two shall be admitted to the practice of law in this state except upon recommendation of the Board of Bar Examiners obtained after such person shall have successfully taken the examination in writing, or as otherwise prescribed or be allowed to transfer a Uniform Bar Exam (UBE) score. Only those persons possessing the qualifications and fulfilling the conditions hereinafter prescribed shall be permitted to take an examination or seek UBE score transfer for admission to the practice of law in the State of Oklahoma.

RULE FOUR

ADMISSION BY EXAMINATION OR UBE SCORE TRANSFER

Section 1. When examination of an attorney of another jurisdiction is required of one who is not eligible for admission upon motion as provided in Rule Two hereof, such attorney may be permitted by the Board of Bar Examiners to take an examination prescribed in Rule Five or may transfer a verified UBE score within 3 years. Applicants with UBE scores older than 3 but less than 5 years may apply for admission based on the UBE score plus a period of active law practice for at least 2 years immediately preceding their Oklahoma application. upon meeting the requirements of this Rule, except that such attorney shall not be required to register as a law student. However, such attorney The applicant shall be required to provide at his or her own expense a report by the National Conference of Bar Examiners (NCBE).

Section 2. No person shall be entitled to take an examination for admission to practice law in this state unless such person shall have been registered Registration as a law student may be accomplished by the filing of a the verified application for registration by the 15th day of October of the student's second year of law school on forms prescribed by the Board of Bar Examiners setting forth such information as the Board requires including:

(a) Certificate of graduation with a Bachelor of Arts or Science degree (with a minimum of 120 college hours, at least 90 hours representing resident study) from a college whose credit hours are transferable to the University of Oklahoma, Oklahoma City University or University of Tulsa with transcript attached of undergraduate college work;

(b) Two (2) sets of fingerprints which may be submitted to both the Oklahoma State Bureau of Investigation and the Federal Bureau of Investigation for appropriate record reviews.

(c) Recent photograph.

(d) NCBE Student Application Report for Character and Fitness at his or her own expense.

The Board may, in its discretion, register nunc pro tunc students who have been enrolled in a law school accredited by the American Bar Association upon compliance with all applicable rules herein.

The application provided by this section shall be valid for a period of ten (10) years. In the event the applicant has not activated the application within this ten (10) year period, the application will no longer be valid and the file containing the application and required information will be destroyed.

Section 3. Application to take a bar exam shall be filed at least six months prior to the date of examination on forms prescribed by the Board of Bar Examiners setting forth such information as the Board requires. Such application shall contain proof of law school study with a certified transcript attached and a certificate of the law school dean or associate dean that the applicant has met the requirements for graduation with a Juris Doctor degree from a law school in the United States of America, its territories and possessions, accredited by the American Bar Association.

A person who matriculates at a law school which was accredited when applicant enrolled therein, and who completes the course of study and is graduated therefrom, shall be deemed a graduate of an accredited law school, even though the school's accreditation was withdrawn while the applicant was enrolled therein.

No applicant may be admitted by examination or UBE score transfer until he or she shall furnish evidence that a score satisfactory to the Board of Bar Examiners on the Multistate Professional Responsibility Examination has been attained.

Admission must be effected within one year after the date the applicant successfully completes the bar examination unless extended by the Board of Bar Examiners.


RULE FIVE 



EXAMINATION


In effect on March 1, 2021;

All applicants for admission by examination who:

A) Shall have attained a grade of at least 75% in the subject of Oklahoma Rules of Professional Conduct; and

B) Shall have attained a combined grade equivalent to at least 75% on the examination given by the Board of Bar Examiners which shall include: 1) the Multistate Bar Examination (MBE); and 2) essay questions which cover combinations of the subjects hereinafter specified:

1. Oklahoma Rules of Professional Conduct

2. Commercial Law, which may include:

(a) Contracts

(b) Uniform Commercial Code

(c) Consumer Law

(d) Creditor's rights, including bankruptcy

3. Property

4. Procedural Law, which may include:

(a) Pleadings

(b) Practice

(c) Evidence

(d) Remedies (damages, restitution and equity)

5. Criminal Law

6. Business Associations, which may include:

(a) Agency

(b) Partnerships (including joint ventures)

(c) Corporations

(d) Limited Liability Companies

7. Constitutional and Administrative Law

8. Torts

9. Intestate Succession, wills, trusts, estate planning, which may include federal estate and gift taxation

10. Conflicts of Law

11. Family Law

score at least a 264 on the Uniform Bar Examination (UBE), either in Oklahoma or by transfer of the score from a UBE administered in another UBE jurisdiction authorized by the NCBE and C) are otherwise qualified under these rules shall be recommended by the Board of Bar Examiners to the practice of law in this state.

Any applicant who is otherwise qualified to be recommended for admission to the Bar except by reason of failure to pass satisfactorily the section of the Oklahoma Bar Examination concerning the Oklahoma Rules of Professional Conduct shall be eligible for re-examination in the subject Oklahoma Rules of Professional Conduct. Such re-examination shall be conducted by the Board at a time and place to be fixed by the Board and may be written or oral or both. If, upon such reexamination, the applicant receives a satisfactory grade in the subject Oklahoma Rules of Professional Conduct and is found by the Board to have otherwise qualified to be recommended for admission to the Bar, such applicant shall thereupon be so recommended. Any applicant who fails to receive a satisfactory grade upon such re-examination shall be required to reapply for permission to take a further examination concerning the Oklahoma Rules of Professional Conduct, which may be given at the discretion of the Board.

There shall be held two bar examinations each year, at dates, times, places and duration to be prescribed by the Board of Bar Examiners.

RULE SIX


ADDITIONAL EXAMINATIONS


In the event of the failure of an applicant to pass any examination, such applicant, if otherwise qualified under these Rules, may be permitted to take any number of subsequent examinations upon filing an additional application with the Board of Bar Examiners proving continued good moral character and fitness to practice law. The application shall be filed by May 15 for the July examination and by December 15 for the February examination.

RULE SEVEN


FEES


The following non-refundable fees shall be paid to the Board of Bar Examiners at the time of filing of the application:

(a) Registration:


Regular . . . . . . . . . . . . $125

Nunc Pro Tunc . . . . . . . $500


(b) By each applicant for admission upon motion: the sum of $2,000.

(c) By each applicant for admission by examination under Rule Four, §1:

FEBRUARY BAR EXAM 
Application filed on or before:


1 September . . . . .$1,100 $1,250 

1 October . . . . . . .$1,150 $1,300 

1 November . . . . .$1,250 $1,400

JULY BAR EXAM
Application filed on or before:

1 February . . . . . .$1,100 $1,250 

1 March . . . . . . . .$1,150 $1,300 

1 April . . . . . . . . .$1,250 $1,400


or applicants for admission by UBE score transfer only who are licensed in another jurisdiction or have not previously registered as a law student: the sum of $1,250

(d) By each applicant for a Special Temporary Permit under Rule Two, §5: the sum of $750.

(e) By each applicant for admission by a Special Temporary Permit under Rule Two, §6: the sum of $100.

(f) For each applicant for a Special Temporary Permit under Rule Two, §7, there will not be any fee charged to the applicant.

(g) By each applicant for a Temporary Permit under Rule Nine: $150.

(h) By each applicant for admission by examination other than those under subparagraph (c) hereof who have previously registered as a law student:

FEBRUARY BAR EXAM 
Application filed on or before:

1 September . . . . . $400 $650 

1 October . . . . . . . $450 $700 

1 November . . . . . $550 $800

In effect until May 31, 2021;

JULY BAR EXAM
Application filed on or before:



1 February . . . . . . . $400 
1 March . . . . . . . . . $450 
1 April . . . . . . . . . . $550



In effect on June 1, 2021

JULY BAR EXAM
Application filed on or before:


1 February . . . . . . $400 $650 
1 March . . . . . . . . $450 $700 
1 April . . . . . . . . . $550 $800

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